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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF IOWA


                                                               Case No. 4:24-cv-390
Orcun Selcuk, et al.                            ,
              Plaintiff(s),
                                                               MOTION FOR ADMISSION
v.                                                                 PRO HAC VICE

 Paul D. Pate, et al.                           ,
               Defendant(s).


     A. Applicant’s Information and Certification

         Pursuant to Southern District of Iowa Local Rule 83(d)(3) and (4),
I, Patricia Yan                                 , respectfully moves to appear pro hac vice for the purpose
of appearing as counsel on behalf of, Orcun Selcuk; Alan David Gwilliam, et al.                 , in the above
case. In support of this motion, the undersigned states:
         1. I am admitted to practice and in good standing in the following United States District Court
and/or a state’s highest court: New York State Bar                              , Bar Id: 5499173      .
         2. I have never been disbarred, suspended, or received any discipline in any state or federal
courts, and no complaints or disciplinary matters are pending against me.
         3. I agree to submit to and comply with all provisions and requirements of the rules of conduct
applicable to lawyers admitted to practice law in the state courts of Iowa and comply with the Local
Rules.
         4. I agree to comply with the associate counsel requirements of LR 83(d)(3) and (4) by
associating with Rita Bettis Austen                                      , an attorney admitted to practice law
in this district and who has entered an appearance in this case.
         5. I agree to pay the applicable required fee electronically.
         WHEREFORE, the undersigned counsel respectfully requests that this Court enter an Order
granting leave to appear pro hac vice for appearing in this case.
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                                              Respectfully submitted,

Date: 11/01/2024                              /s/ Patricia Yan
                                              (Signature)
                                               Patricia Yan
                                              (Printed Name)
                                               American Civil Liberties Union Foundation
                                              (Law Firm Name)
                                               915 15th Street NW
                                              (Law Firm Street address)
                                               Washington, D.C. 20005
                                              (City, State, Zip Code)
                                              __________________________________________
                                               (202) 457-0800
                                              (Telephone number)
                                               pyan@aclu.org
                                              (E-mail address)


    B. Local Counsel Information and Certification

        I, Rita Bettis Austen         , an active member in good standing of the bar of the United
States District Court for the Southern District of Iowa, request that this court admit
Patricia Yan                           pro hac vice, an attorney admitted to practice and currently in
good standing in, New York                            , but not admitted to the bar of this court, who will
be counsel for the Plaintiffs                         , in the case listed above. I am aware of my
obligations under the Local Rules of this court including requiring that I accept service of all documents.


Date: 11/01/2024                              /s/ Rita Bettis Austen
                                              (Signature)
                                               Rita Bettis Austen
                                              (Printed Name)
